Earnings Case
         Statement
              19-10212            Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04       BRIAN
                                                                                          Page 1 of 25J.        BYERS
    Pay Date:       08/01/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                             Emp #: 0145
    Period Start:   07/15/2018       24355 CAPITOL AVENUE                                        Dept: 5 - Baton Rouge
    Period End:     07/28/2018       REDFORD MI 48239                                                Pay Basis: Salary

                                              Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                          3173.08      46961.57
    Vacation                                                            0.00       2221.16
    Bonus                                                               0.00       1000.00
    Holiday                                                             0.00       1586.55

                                 Gross                               3173.08      51769.28
W/H Taxes
   Federal W/H(M/1)                                                   226.67       3959.58
   Medicare                                                            39.76        650.66
   Social Security                                                    169.99       2781.84
   Louisiana State W/H(M/1)                                           101.00       1640.00

Deductions
   401 K %                                                            126.92       2030.72
   401 K Loan $                                                        51.06        816.96
   401K Loan $ 2                                                      118.56       1896.96
   BCBS                                                               254.78       4076.48
   COL Accident                                                        18.32        293.12
   COL Critical Illness                                                21.11        337.76
   COL Universal Life                                                  39.95        639.20
   Cancer                                                              18.00        288.00
   Dental                                                              35.78        572.48
   Loan Repay                                                          86.33       1381.28
   Med FSA                                                             98.08       1569.28
   Vision 1                                                             6.33        101.28
   Voluntary Life                                                      13.98        223.68

                                 Net Pay                             1746.46      28510.00 Voucher No. 8273DD
Net Pay Distribution
    Direct Deposit Net Check                                         1746.46      28510.00 A/C:0025

Employee Benefits                                              Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                              31.73       507.68 *Company Match
          Case 19-10212   Doc 9   Filed 03/12/19    Entered 03/12/19 18:33:04   Page 2 of 25




                                                                            Voucher No. 8273DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 08/01/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1746.46
One Thousand Seven Hundred Forty Six And 46/100 Dollars



BRIAN J. BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
Earnings Case
         Statement
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                                                                                               3 of 25          BYERS
    Pay Date:       08/15/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                             Emp #: 0145
    Period Start:   07/29/2018       24355 CAPITOL AVENUE                                        Dept: 5 - Baton Rouge
    Period End:     08/11/2018       REDFORD MI 48239                                                Pay Basis: Salary

                                              Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                          3173.08      50134.65
    Vacation                                                            0.00       2221.16
    Bonus                                                               0.00       1000.00
    Holiday                                                             0.00       1586.55

                                 Gross                               3173.08      54942.36
W/H Taxes
   Federal W/H(M/1)                                                   226.67       4186.25
   Medicare                                                            39.76        690.42
   Social Security                                                    169.99       2951.83
   Louisiana State W/H(M/1)                                           101.00       1741.00

Deductions
   401 K %                                                            126.92       2157.64
   401 K Loan $                                                        51.06        868.02
   401K Loan $ 2                                                      118.56       2015.52
   BCBS                                                               254.78       4331.26
   COL Accident                                                        18.32        311.44
   COL Critical Illness                                                21.11        358.87
   COL Universal Life                                                  39.95        679.15
   Cancer                                                              18.00        306.00
   Dental                                                              35.78        608.26
   Loan Repay                                                          86.33       1467.61
   Med FSA                                                             98.08       1667.36
   Vision 1                                                             6.33        107.61
   Voluntary Life                                                      13.98        237.66

                                 Net Pay                             1746.46      30256.46 Voucher No. 8546DD
Net Pay Distribution
    Direct Deposit Net Check                                         1746.46      30256.46 A/C:0025

Employee Benefits                                              Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                              31.73       539.41 *Company Match
          Case 19-10212   Doc 9   Filed 03/12/19    Entered 03/12/19 18:33:04   Page 4 of 25




                                                                            Voucher No. 8546DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 08/15/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1746.46
One Thousand Seven Hundred Forty Six And 46/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
Earnings Case
         Statement
              19-10212            Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04     Page BRIAN
                                                                                               5 of 25          BYERS
    Pay Date:       08/29/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                             Emp #: 0145
    Period Start:   08/12/2018       24355 CAPITOL AVENUE                                        Dept: 5 - Baton Rouge
    Period End:     08/25/2018       REDFORD MI 48239                                                Pay Basis: Salary

                                              Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                          3173.08      53307.73
    Vacation                                                            0.00       2221.16
    Bonus                                                               0.00       1000.00
    Holiday                                                             0.00       1586.55

                                 Gross                               3173.08      58115.44
W/H Taxes
   Federal W/H(M/1)                                                   226.67       4412.92
   Medicare                                                            39.76        730.18
   Social Security                                                    169.99       3121.82
   Louisiana State W/H(M/1)                                           101.00       1842.00

Deductions
   401 K %                                                            126.92       2284.56
   401 K Loan $                                                        51.06        919.08
   401K Loan $ 2                                                      118.56       2134.08
   BCBS                                                               254.78       4586.04
   COL Accident                                                        18.32        329.76
   COL Critical Illness                                                21.11        379.98
   COL Universal Life                                                  39.95        719.10
   Cancer                                                              18.00        324.00
   Dental                                                              35.78        644.04
   Loan Repay                                                          86.06       1553.67
   Med FSA                                                             98.08       1765.44
   Vision 1                                                             6.33        113.94
   Voluntary Life                                                      13.98        251.64

                                 Net Pay                             1746.73      32003.19 Voucher No. 8681DD
Net Pay Distribution
    Direct Deposit Net Check                                         1746.73      32003.19 A/C:0025

Employee Benefits                                              Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                              31.73       571.14 *Company Match
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                                                                            Voucher No. 8681DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 08/29/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1746.73
One Thousand Seven Hundred Forty Six And 73/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
Earnings Case
         Statement
              19-10212            Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04     Page BRIAN
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    Pay Date:       09/12/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                             Emp #: 0145
    Period Start:   08/26/2018       24355 CAPITOL AVENUE                                        Dept: 5 - Baton Rouge
    Period End:     09/08/2018       REDFORD MI 48239                                                Pay Basis: Salary

                                              Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                          1586.54      54894.27
    Personal                                                         1269.23       1269.23
    Vacation                                                            0.00       2221.16
    Bonus                                                               0.00       1000.00
    Holiday                                                           317.31       1903.86

                                 Gross                               3173.08      61288.52
W/H Taxes
   Federal W/H(M/1)                                                   226.67       4639.59
   Medicare                                                            39.76        769.94
   Social Security                                                    169.99       3291.81
   Louisiana State W/H(M/1)                                           101.00       1943.00

Deductions
   401 K %                                                            126.92       2411.48
   401 K Loan $                                                        51.06        970.14
   401K Loan $ 2                                                      118.56       2252.64
   BCBS                                                               254.78       4840.82
   COL Accident                                                        18.32        348.08
   COL Critical Illness                                                21.11        401.09
   COL Universal Life                                                  39.95        759.05
   Cancer                                                              18.00        342.00
   Dental                                                              35.78        679.82
   Loan Repay                                                           0.00       1553.67
   Med FSA                                                             98.08       1863.52
   Vision 1                                                             6.33        120.27
   Voluntary Life                                                      13.98        265.62

                                 Net Pay                             1832.79      33835.98 Voucher No. 8816DD
Net Pay Distribution
    Direct Deposit Net Check                                         1832.79      33835.98 A/C:0025

Employee Benefits                                              Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                              31.73       602.87 *Company Match
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                                                                            Voucher No. 8816DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 09/12/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1832.79
One Thousand Eight Hundred Thirty Two And 79/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
Earnings Case
         Statement
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    Pay Date:       09/26/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                             Emp #: 0145
    Period Start:   09/09/2018       24355 CAPITOL AVENUE                                        Dept: 5 - Baton Rouge
    Period End:     09/22/2018       REDFORD MI 48239                                                Pay Basis: Salary

                                              Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                          3173.08      58067.35
    Personal                                                            0.00       1269.23
    Vacation                                                            0.00       2221.16
    Bonus                                                               0.00       1000.00
    Holiday                                                             0.00       1903.86

                                 Gross                               3173.08      64461.60
W/H Taxes
   Federal W/H(M/1)                                                   226.67       4866.26
   Medicare                                                            39.76        809.70
   Social Security                                                    169.99       3461.80
   Louisiana State W/H(M/1)                                           101.00       2044.00

Deductions
   401 K %                                                            126.92       2538.40
   401 K Loan $                                                        51.06       1021.20
   401K Loan $ 2                                                      118.56       2371.20
   BCBS                                                               254.78       5095.60
   COL Accident                                                        18.32        366.40
   COL Critical Illness                                                21.11        422.20
   COL Universal Life                                                  39.95        799.00
   Cancer                                                              18.00        360.00
   Dental                                                              35.78        715.60
   Loan Repay                                                           0.00       1553.67
   Med FSA                                                             98.08       1961.60
   Vision 1                                                             6.33        126.60
   Voluntary Life                                                      13.98        279.60

                                 Net Pay                             1832.79      35668.77 Voucher No. 8955DD
Net Pay Distribution
    Direct Deposit Net Check                                         1832.79      35668.77 A/C:0025

Employee Benefits                                              Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                              31.73       634.60 *Company Match
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                                                                           Voucher No. 8955DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 09/26/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1832.79
One Thousand Eight Hundred Thirty Two And 79/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
EarningsCase
         Statement
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    Pay Date:       10/10/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   09/23/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     10/06/2018       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           3173.08      61240.43
    Personal                                                             0.00       1269.23
    Vacation                                                             0.00       2221.16
    Bonus                                                                0.00       1000.00
    Holiday                                                              0.00       1903.86

                                 Gross                                3173.08      67634.68
W/H Taxes
   Federal W/H(M/1)                                                    226.67       5092.93
   Medicare                                                             39.76        849.46
   Social Security                                                     169.99       3631.79
   Louisiana State W/H(M/1)                                            101.00       2145.00

Deductions
   401 K %                                                             126.92       2665.32
   401 K Loan $                                                         51.06       1072.26
   401K Loan $ 2                                                       118.56       2489.76
   BCBS                                                                254.78       5350.38
   COL Accident                                                         18.32        384.72
   COL Critical Illness                                                 21.11        443.31
   COL Universal Life                                                   39.95        838.95
   Cancer                                                               18.00        378.00
   Dental                                                               35.78        751.38
   Loan Repay                                                            0.00       1553.67
   Med FSA                                                              98.08       2059.68
   Vision 1                                                              6.33        132.93
   Voluntary Life                                                       13.98        293.58

                                 Net Pay                              1832.79      37501.56 Voucher No. 9092DD
Net Pay Distribution
    Direct Deposit Net Check                                          1832.79      37501.56 A/C:8155

Employee Benefits                                               Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                               31.73       666.33 *Company Match
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                                                                           Voucher No. 9092DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 10/10/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1832.79
One Thousand Eight Hundred Thirty Two And 79/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
EarningsCase
         Statement
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    Pay Date:       10/24/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   10/07/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     10/20/2018       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           1903.85      63144.28
    Personal                                                             0.00       1269.23
    Vacation                                                          1269.23       3490.39
    Bonus                                                                0.00       1000.00
    Holiday                                                              0.00       1903.86

                                 Gross                                3173.08      70807.76
W/H Taxes
   Federal W/H(M/1)                                                    241.90       5334.83
   Medicare                                                             39.76        889.22
   Social Security                                                     169.99       3801.78
   Louisiana State W/H(M/1)                                            108.00       2253.00

Deductions
   401 K %                                                               0.00       2665.32
   401 K Loan $                                                         51.06       1123.32
   401K Loan $ 2                                                       118.56       2608.32
   BCBS                                                                254.78       5605.16
   COL Accident                                                         18.32        403.04
   COL Critical Illness                                                 21.11        464.42
   COL Universal Life                                                   39.95        878.90
   Cancer                                                               18.00        396.00
   Dental                                                               35.78        787.16
   Loan Repay                                                            0.00       1553.67
   Med FSA                                                              98.08       2157.76
   Vision 1                                                              6.33        139.26
   Voluntary Life                                                       13.98        307.56

                                 Net Pay                              1937.48      39439.04 Voucher No. 9230DD
Net Pay Distribution
    Direct Deposit Net Check                                          1937.48      39439.04 A/C:4970

Employee Benefits                                               Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                                0.00       666.33 *Company Match
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                                                                           Voucher No. 9230DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 10/24/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1937.48
One Thousand Nine Hundred Thirty Seven And 48/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
EarningsCase
         Statement
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    Pay Date:       11/07/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   10/21/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     11/03/2018       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           3173.08      66317.36
    Personal                                                             0.00       1269.23
    Vacation                                                             0.00       3490.39
    Bonus                                                                0.00       1000.00
    Holiday                                                              0.00       1903.86

                                 Gross                                3173.08      73980.84
W/H Taxes
   Federal W/H(M/1)                                                    241.90       5576.73
   Medicare                                                             39.76        928.98
   Social Security                                                     169.99       3971.77
   Louisiana State W/H(M/1)                                            108.00       2361.00

Deductions
   401 K %                                                               0.00       2665.32
   401 K Loan $                                                         51.06       1174.38
   401K Loan $ 2                                                       118.56       2726.88
   BCBS                                                                254.78       5859.94
   COL Accident                                                         18.32        421.36
   COL Critical Illness                                                 21.11        485.53
   COL Universal Life                                                   39.95        918.85
   Cancer                                                               18.00        414.00
   Dental                                                               35.78        822.94
   Loan Repay                                                            0.00       1553.67
   Med FSA                                                              98.08       2255.84
   Vision 1                                                              6.33        145.59
   Voluntary Life                                                       13.98        321.54

                                 Net Pay                              1937.48      41376.52 Voucher No. 9370DD
Net Pay Distribution
    Direct Deposit Net Check                                          1937.48      41376.52 A/C:4970

Employee Benefits                                               Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                                0.00       666.33 *Company Match
          Case 19-10212   Doc 9   Filed 03/12/19   Entered 03/12/19 18:33:04   Page 16 of 25




                                                                           Voucher No. 9370DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 11/07/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1937.48
One Thousand Nine Hundred Thirty Seven And 48/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
EarningsCase
         Statement
             19-10212             Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04          BRIAN
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    Pay Date:       11/21/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   11/04/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     11/17/2018       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           3173.08      69490.44
    Personal                                                             0.00       1269.23
    Vacation                                                             0.00       3490.39
    Bonus                                                                0.00       1000.00
    Holiday                                                              0.00       1903.86

                                 Gross                                3173.08      77153.92
W/H Taxes
   Federal W/H(M/1)                                                    241.90       5818.63
   Medicare                                                             39.76        968.74
   Social Security                                                     169.99       4141.76
   Louisiana State W/H(M/1)                                            108.00       2469.00

Deductions
   401 K %                                                               0.00       2665.32
   401 K Loan $                                                         51.06       1225.44
   401K Loan $ 2                                                       118.56       2845.44
   BCBS                                                                254.78       6114.72
   COL Accident                                                         18.32        439.68
   COL Critical Illness                                                 21.11        506.64
   COL Universal Life                                                   39.95        958.80
   Cancer                                                               18.00        432.00
   Dental                                                               35.78        858.72
   Loan Repay                                                            0.00       1553.67
   Loan Repay 2                                                         14.25         14.25
   Med FSA                                                              98.08       2353.92
   Vision 1                                                              6.33        151.92
   Voluntary Life                                                       13.98        335.52

                                 Net Pay                              1923.23      43299.75 Voucher No. 9509DD
Net Pay Distribution
    Direct Deposit Net Check                                          1923.23      43299.75 A/C:4970

Employee Benefits                                               Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                                0.00       666.33 *Company Match
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                                                                           Voucher No. 9509DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 11/21/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1923.23
One Thousand Nine Hundred Twenty Three And 23/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
EarningsCase
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    Pay Date:       12/05/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   11/18/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     12/01/2018       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           2538.46      72028.90
    Personal                                                             0.00       1269.23
    Vacation                                                             0.00       3490.39
    Bonus                                                                0.00       1000.00
    Holiday                                                            634.62       2538.48

                                 Gross                                3173.08      80327.00
W/H Taxes
   Federal W/H(M/1)                                                    238.06       6056.69
   Medicare                                                             39.75       1008.49
   Social Security                                                     169.97       4311.73
   Louisiana State W/H(M/1)                                            106.00       2575.00

Deductions
   401 K %                                                              31.73       2697.05
   401 K Loan $                                                         51.06       1276.50
   401K Loan $ 2                                                       118.56       2964.00
   BCBS                                                                255.00       6369.72
   COL Accident                                                         18.32        458.00
   COL Critical Illness                                                 21.11        527.75
   COL Universal Life                                                   39.95        998.75
   Cancer                                                               18.00        450.00
   Dental                                                               35.86        894.58
   Loan Repay                                                            0.00       1553.67
   Loan Repay 2                                                          0.00         14.25
   Med FSA                                                              98.08       2452.00
   Vision 1                                                              6.33        158.25
   Voluntary Life                                                       13.98        349.50

                                 Net Pay                              1911.32      45211.07 Voucher No. 9931DD
Net Pay Distribution
    Direct Deposit Net Check                                          1911.32      45211.07 A/C:4970

Employee Benefits                                               Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                                7.93       674.26 *Company Match
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                                                                           Voucher No. 9931DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 12/05/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1911.32
One Thousand Nine Hundred Eleven And 32/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
EarningsCase
         Statement
             19-10212             Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04          BRIAN
                                                                                          Page 21 of 25       BYERS
    Pay Date:       12/19/2018       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   12/02/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     12/15/2018       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           3173.08      75201.98
    Personal                                                             0.00       1269.23
    Vacation                                                             0.00       3490.39
    Bonus                                                                0.00       1000.00
    Holiday                                                              0.00       2538.48
    Retro Pay                                                           31.73         31.73

                                 Gross                                3204.81      83531.81
W/H Taxes
   Federal W/H(M/1)                                                    245.19       6301.88
   Medicare                                                             40.15       1048.64
   Social Security                                                     171.69       4483.42
   Louisiana State W/H(M/1)                                            110.00       2685.00

Deductions
   401 K %                                                               0.00       2665.32
   401 K Loan $                                                         51.06       1327.56
   401K Loan $ 2                                                       118.56       3082.56
   BCBS                                                                255.00       6624.72
   COL Accident                                                         18.32        476.32
   COL Critical Illness                                                 21.11        548.86
   COL Universal Life                                                   39.95       1038.70
   Cancer                                                               18.00        468.00
   Dental                                                               35.86        930.44
   Loan Repay                                                            0.00       1553.67
   Loan Repay 2                                                          0.00         14.25
   Med FSA                                                             102.08       2554.08
   Vision 1                                                              6.33        164.58
   Voluntary Life                                                       13.98        363.48

                                 Net Pay                              1957.53      47200.33 Voucher No. 10072DD
Net Pay Distribution
    Direct Deposit Net Check                                          1957.53      47200.33 A/C:4970

Employee Benefits                                               Current Period Year To Date YTD Taken Available
   401 K % - Match - Match                                                0.00       666.33 *Company Match
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                                                                          Voucher No. 10072DD
ALPINE POWER SYSTEMS INC
24355 CAPITOL AVENUE                               DATE: 12/19/2018
REDFORD, MI 48239

Dept: 5

Net Pay:                                                                                 1957.53
One Thousand Nine Hundred Fifty Seven And 53/100 Dollars



BRIAN BYERS
10369 ISABELLE COURT                                            For Record Purposes Only
DENHAM SPRINGS, LA 70726                                      **NON-NEGOTIABLE**
EarningsCase
         Statement
             19-10212             Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04          BRIAN
                                                                                          Page 23 of 25       BYERS
    Pay Date:       01/02/2019       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   12/16/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     12/29/2018       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           2538.46       2538.46
    Holiday                                                            634.62        634.62

                                 Gross                                3173.08       3173.08
W/H Taxes
   Federal W/H(M/1)                                                    239.73        239.73
   Medicare                                                             39.69         39.69
   Social Security                                                     169.72        169.72
   Louisiana State W/H(M/1)                                            108.00        108.00

Deductions
   401 K Loan $                                                         51.06         51.06
   401K Loan $ 2                                                       118.56        118.56
   BCBS                                                                255.00        255.00
   COL Accident                                                         18.32         18.32
   COL Critical Illness                                                 21.11         21.11
   COL Universal Life                                                   39.95         39.95
   Cancer                                                               18.00         18.00
   Dental                                                               35.86         35.86
   Med FSA                                                             102.08        102.08
   Vision 1                                                              6.33          6.33
   Voluntary Life                                                       13.98         13.98

                                 Net Pay                              1935.69       1935.69 Voucher No. 10221DD
Net Pay Distribution
    Direct Deposit Net Check                                          1935.69       1935.69 A/C:4970




                                                                                     Voucher No. 10221DD
    ALPINE POWER SYSTEMS INC
    24355 CAPITOL AVENUE                                    DATE: 01/02/2019
    REDFORD, MI 48239

    Dept: 5

    Net Pay:                                                                                            1935.69
    One Thousand Nine Hundred Thirty Five And 69/100 Dollars



    BRIAN BYERS
    10369 ISABELLE COURT                                                  For Record Purposes Only
    DENHAM SPRINGS, LA 70726                                           **NON-NEGOTIABLE**
EarningsCase
         Statement
             19-10212             Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04          BRIAN
                                                                                          Page 24 of 25       BYERS
    Pay Date:       01/16/2019       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   12/30/2018       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     01/12/2019       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           2855.77       5394.23
    Holiday                                                            317.31        951.93

                                 Gross                                3173.08       6346.16
W/H Taxes
   Federal W/H(M/1)                                                    239.73        479.46
   Medicare                                                             39.69         79.38
   Social Security                                                     169.72        339.44
   Louisiana State W/H(M/1)                                            108.00        216.00

Deductions
   401 K Loan $                                                         51.06        102.12
   401K Loan $ 2                                                       118.56        237.12
   BCBS                                                                255.00        510.00
   COL Accident                                                         18.32         36.64
   COL Critical Illness                                                 21.11         42.22
   COL Universal Life                                                   39.95         79.90
   Cancer                                                               18.00         36.00
   Dental                                                               35.86         71.72
   Med FSA                                                             102.08        204.16
   Vision 1                                                              6.33         12.66
   Voluntary Life                                                       13.98         27.96

                                 Net Pay                              1935.69       3871.38 Voucher No. 10369DD
Net Pay Distribution
    Direct Deposit Net Check                                          1935.69       3871.38 A/C:4970




                                                                                     Voucher No. 10369DD
    ALPINE POWER SYSTEMS INC
    24355 CAPITOL AVENUE                                    DATE: 01/16/2019
    REDFORD, MI 48239

    Dept: 5

    Net Pay:                                                                                            1935.69
    One Thousand Nine Hundred Thirty Five And 69/100 Dollars



    BRIAN BYERS
    10369 ISABELLE COURT                                                  For Record Purposes Only
    DENHAM SPRINGS, LA 70726                                           **NON-NEGOTIABLE**
EarningsCase
         Statement
             19-10212             Doc 9    Filed 03/12/19   Entered 03/12/19 18:33:04          BRIAN
                                                                                          Page 25 of 25       BYERS
    Pay Date:       01/30/2019       Company: 0DC71 - ALPINE POWER SYSTEMS INC                              Emp #: 0145
    Period Start:   01/13/2019       24355 CAPITOL AVENUE                                         Dept: 5 - Baton Rouge
    Period End:     01/26/2019       REDFORD MI 48239                                                 Pay Basis: Salary

                                               Rate Hours/Units Current Period Year To Date
Earnings
    Regular                                                           3173.08       8567.31
    Holiday                                                              0.00        951.93

                                 Gross                                3173.08       9519.24
W/H Taxes
   Federal W/H(M/1)                                                    239.73        719.19
   Medicare                                                             39.69        119.07
   Social Security                                                     169.72        509.16
   Louisiana State W/H(M/1)                                            108.00        324.00

Deductions
   401 K Loan $                                                         51.06        153.18
   401K Loan $ 2                                                       118.56        355.68
   BCBS                                                                255.00        765.00
   COL Accident                                                         18.32         54.96
   COL Critical Illness                                                 21.11         63.33
   COL Universal Life                                                   39.95        119.85
   Cancer                                                               18.00         54.00
   Dental                                                               35.86        107.58
   Med FSA                                                             102.08        306.24
   Vision 1                                                              6.33         18.99
   Voluntary Life                                                       13.98         41.94

                                 Net Pay                              1935.69       5807.07 Voucher No. 10514DD
Net Pay Distribution
    Direct Deposit Net Check                                          1935.69       5807.07 A/C:4970




                                                                                     Voucher No. 10514DD
    ALPINE POWER SYSTEMS INC
    24355 CAPITOL AVENUE                                    DATE: 01/30/2019
    REDFORD, MI 48239

    Dept: 5

    Net Pay:                                                                                            1935.69
    One Thousand Nine Hundred Thirty Five And 69/100 Dollars



    BRIAN BYERS
    10369 ISABELLE COURT                                                  For Record Purposes Only
    DENHAM SPRINGS, LA 70726                                           **NON-NEGOTIABLE**
